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                                                        Notice Recipients
District/Off: 0205−2                         User: admin                            Date Created: 10/25/2022
Case: 22−20743                               Form ID: 309D                          Total: 30


Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          Rollcage Technology, Inc.          7415 Riviera Cove         Lakewood Ranch, FL 34202
ust         U. S. Trustee        Office of the U.S. Trustee        Giaimo Federal Building         150 Court Street, Room
            302        New Haven, CT 06510
tr          Anthony S. Novak           Novak Law Office, P.C.         280 Adams Street         Manchester, CT 06042−1975
aty         Ronald Ian Chorches          Law Offices of Ronald I. Chorches          82 Wolcott Hill Road − 2nd. Flr. Suite
            2        Wethersfield, CT 06109
9384004     Advanta         Attn: Managing Memeer            PO Box 9217         Old Bethpage, NY 11804
9384005     Anthem BCBS            Attn: President        PO Box 1049          North Haven, CT 06473
9384006     Bank of the West         Attn: President        475 Sansome St, 19th Fl         NC−TRI−19−A             San Francisco, CA
            94111
9384007     Citi Cards        Attn: President        PO Box 6241          Sioux Falls, SD 57117
9384008     Corporation Service Co          Attn: Managing Member            PO Box 2576         Springfield, IL 62708
9384009     Corporation Service Co.          Attn: Managing Member           PO Box 2576          Springfield, IL 62708
9384010     Dana Martin         Landman A Kashian Law             Attn: Jamie Goodwin, Esq.         164 Canal St, Ste
            501        Boston, MA 02114
9384011     Daniel Donshik          7415 Riviera Cove         Lakewood Ranch, FL 34202
9384012     De Lage Landen Financial Svcs            Attn: Managing Member           1111 Old Eagle School Rd          Wayne, PA
            19087
9384013     Dell Financial Services         Attn: President       1 Dell Way         Mail Stop PS2DF−23           Round Rock, TX
            78682
9384014     Dell Financial Services, LLC          Attn: President       1 Dell Way        Round Rock, TX 78682
9384015     First Collection Services        Attn: Managing Member            10925 Otter Creek E Blvd          Mabelvale, AR
            72103−1661
9384016     Forward Financing LLC            Attn: Managing Member           100 Summer St, Ste 1175          Boston, MA
            02110
9384017     Frontier Communications           Attn: President       19 John Street        Middletown, NY 10940
9384018     IFund Co, LLC          Attn: Managing Member            57 W 38th St        New York, NY 10018
9384019     Internal Revenue Service          Attn: General Agent        PO Box 7346          Philadelphia, PA 19101−7346
9384020     Karen Donshik          140 Cooper Avenue           Simsbury, CT 06089
9384022     LG Funding LLC            Attn: Managing Member           1218 Union St         Brooklyn, NY 11225
9384023     Oracle        Attn: Alice Miller, Esq.        Corporate Counsel         500 Oracle Pkwy         Redwood City, CA
            94065
9384024     Peter Donshik         7320 Riviera Rd          Lakewood Ranch, FL 34202
9384025     Port Authority NY/NJ           Attn: General Agent        PO Box 15183          Albany, NY 12212−5183
9384026     Reid Wolf         125 Forest Lakes Blvd          Naples, FL 34105
9384027     State of Connecticut        Department of Revenue Services           Attn: General Agent         450 Columbus
            Blvd        Hartford, CT 06103
9384029     Union Savings Bank           Attn: President       226 Main St         Danbury, CT 06810
9384028     Union Savings Bank           c/o Christopher Gerard Winans          Attn: Managing Member            98 Mill Plain Rd, Ste
            2A        Danbury, CT 06811
9384030     Williamson County, TN            Attn: Assessor of Property        1320 W Main St, Ste 300          Franklin, TN
            37064−3736
                                                                                                                         TOTAL: 30
